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15                       UNITED STATES DISTRICT COURT
16                    SOUTHERN DISTRICT OF CALIFORNIA
17
       CITY OF IMPERIAL BEACH, et
18
       al.,                                   CASE NO. 18-cv-457-JM-LL
19                     Plaintiffs,
20          v.                                REPLY IN SUPPORT OF THE
                                              UNITED STATES’ PARTIAL
21     THE INTERNATIONAL                      MOTION TO DISMISS
22     BOUNDARY & WATER
       COMMISSION – UNITED STATES ORAL ARGUMENT REQUESTED
23
       SECTION, et al.,
24                      Defendants. Hearing: November 19, 2018
25                                  Time: 9:00 am
                                    Judge: Jeffrey T. Miller
26                                  Place: Courtroom 5D
27
28
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     Reply in Support of the United States’ Partial Motion to Dismiss   18cv00457
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 1         At issue in Plaintiffs’ first claim is whether the Clean Water Act (“CWA” or
 2   “Act”) can be construed to require USIBWC to assume legal responsibility for
 3   treating an unlimited quantity of wastewater flowing from Mexico. Congress has
 4   answered in the negative. CWA section 511(a)(3), 33 U.S.C. § 1371(a)(3),
 5   precludes any construction of the Act that would “affect[] or impair[] the
 6   provisions of any treaty of the United States.” Because Plaintiffs’ first claim
 7   attempts to limit USIBWC’s ability under the 1944 Treaty for the Utilization of the
 8   Waters of the Colorado and Tijuana Rivers and of the Rio Grande (“1944 Treaty”)
 9   to seek from Mexico a binational solution to a binational pollution problem, it must
10   be dismissed.
11         At issue in Plaintiffs’ third claim is whether USIBWC is liable under the
12   Resource Conservation and Recovery Act (“RCRA”) for waste that is generated
13   and disposed of in Mexico and that flows into the United States absent any
14   substantial affirmative action by USIBWC. This Court has already answered in the
15   negative and, for the same reasons, should do so again. Also at issue in Plaintiffs’
16   third claim is whether USIBWC had sufficient notice that by stopping the flow of
17   transboundary waste, it might actually worsen pollution in the Tijuana River
18   Valley. Because Plaintiffs gave no such warning and in fact conveyed the opposite
19   message, the remainder of their RCRA claims should likewise be dismissed.
20   I. Plaintiffs’ First Claim Would Impair or Affect the Provisions of a Treaty
21      and so Fails Under 33 U.S.C. § 1371(a)
22      A. § 1371(a) does not require a “conflict” between the CWA and the
23         provisions of a treaty.
24         In their Response, Plaintiffs first contend that § 1371(a) limits the CWA’s
25   waiver of sovereign immunity only where application of the Act would “conflict
26   with a treaty or similar federal obligation.” Resp. at 7. This argument runs counter
27   to the CWA’s plain text, which has a far broader meaning than the cramped
28   construction urged by Plaintiff.
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 1         Section 1371(a) precludes constructions of the CWA that “impair[]” or
 2   “affect[]” any treaty. The CWA does not define those terms and so the task of
 3   statutory construction “begin[s] with the language employed by Congress and the
 4   assumption that the ordinary meaning of that language accurately expresses the
 5   legislative purpose.” Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 175 (2009).
 6   While an “actual conflict” between the CWA and a treaty could impair or affect
 7   the provisions of the treaty, the words “impair” and “affect” are not narrowly
 8   synonymous with “conflict.” Rather, the ordinary meaning of “affect” is “to
 9   produce an effect on; to influence in some way,” Black’s Law Dictionary (10th ed.
10   2014), or “to produce a material influence upon or alteration in,” Merriam
11   Webster Online Dictionary, https://www.merriam-webster.com/dictionary/affect.
12   To “impair” is to “diminish the value of,” Black’s Law Dictionary (10th ed. 2014),
13   or, more generally, “to diminish in function, ability, or quality[;] to weaken or
14   make worse,” Merriam Webster Online Dictionary, https://www.merriam-
15   webster.com/dictionary/impair. Congress could have limited § 1371(a)’s scope
16   to instances of actual conflict between treaty and statute. It did not do so and
17   Plaintiffs’ construction of the statute must therefore be rejected.
18         Plaintiffs’ sole authority for its atextual reading of § 1371(a), Save Our
19   Sound Fisheries Association v. Callaway, 387 F. Supp. 292 (D.R.I. 1974) (“Save
20   Our Sound”), is inapposite. The question in that case was whether the Army
21   Corps of Engineers was required to issue a CWA permit for certain dredging
22   activities related to the deepening of shipping channel and harbor. The Corps
23   argued that those activities were exempt from CWA permitting requirements
24   under § 1371(a)(2), which precludes applications of the CWA that would impair
25   or affect the Army Corps’ authority to maintain navigation. Id. at 305. The
26   court disagreed, finding that the CWA’s “procedural mandates” in no way
27   altered the Army Corps’ substantive authority to maintain navigation. Id. at 297.
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 1           Crucially, Save Our Sound concerned whether the Corps was required to
 2   issue a dredge and fill permit under CWA Section 404, 33 U.S.C. § 1344 (a
 3   “section 404 permit”), not obtain a NPDES permit, like the one that Plaintiff
 4   would impose on the flood control structure. 1 Id. at 305. As described in Save
 5   Our Sound, the issuance of a section 404 permit required “only that the
 6   environmental impact of the discharge of dredged materials in navigable waters be
 7   publicly analyzed before a particular disposal of dredged spoil is made.” Id. The
 8   imposition of a NPDES permit, by contrast, entails substantive restrictions on “the
 9   type and quantity of pollutants” that a permit holder may release. S. Fla. Water
10   Mgmt. Dist. v. Miccosukee Tribe of Indians, 541 U.S. 95, 102 (2004) (“Miccosukee
11   Tribe”).
12           If Plaintiffs merely sought to compel USIBWC’s compliance with certain
13   “procedural mandates” then perhaps Save Our Sound would be on point. But
14   Plaintiffs’ construction of the CWA would do far more. If required to operate its
15   flood control structure under a NPDES permit, USIBWC would be legally
16   responsible for ensuring the water quality of any transboundary flows through the
17   flood control structure. Whether this open-ended obligation would impair or affect
18   the provisions of the 1944 Treaty and its Minutes is a question for which Save Our
19   Sound provides no answer.
20        B. The 1944 Treaty and its Minutes do not compel CWA compliance where
21           the CWA does not apply.
22           Plaintiffs’ reliance on the sections of the 1944 Treaty and its Minutes that
23   record USIBWC’s commitment to abide by domestic law is similarly misplaced.
24   See Resp. at 8. In arguing that these provisions compel USIBWC to obtain a
25   NPDES permit for the flood control structure, Plaintiffs beg the question of
26   whether the CWA can be construed to regulate the flood control structure in the
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28       NPDES permits are issued under CWA section 402, 33 U.S.C. § 1342.
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 1   first instance. Clearly, under the 1944 Treaty and its Minutes, USIBWC is bound
 2   to follow the CWA when it applies. But by its plain terms, the CWA cannot be
 3   applied to impair or affect the provisions of a treaty. The heart of the matter then,
 4   is whether the construction of the CWA urged by Plaintiffs in their first claim
 5   would impair or affect the 1944 Treaty and its implementing Minutes.
 6      C. Pollution in the flood control structure is a “border sanitation problem”
 7         under the 1944 Treaty and its Minutes.
 8         Plaintiffs wish away the foreign policy implications of their suit by framing
 9   their first claim as an application of domestic law to a purely domestic problem.
10   Resp. at 9–10. This construction is untenable, however, because, as this Court
11   observed, “the border complicates matters.” City of Imperial Beach v. Int’l
12   Boundary & Water Comm’n-United States Section, No. 18CV457 JM (JMA), 2018
13   WL 4104235, at *7 (S.D. Cal. Aug. 29, 2018).
14         The flood control structure is a simple concrete channel that abuts the
15   border, where it connects with the channelized portion of the Tijuana River that
16   passes through Tijuana, Mexico. The flood control structure neither adds, nor is
17   alleged to add, pollutants to the waters that pass through it. Rather, any pollutants
18   in the flood control structure necessarily originated in, and flowed over the border
19   from, Mexico. Indeed, Plaintiffs relied on this very point in opposing the United
20   States motion to dismiss the First Amended Complaint. See City of Imperial
21   Beach, 2018 WL 4104235, at *7 (“Plaintiffs argue [that] . . . the polluted water in
22   the flood control conveyance comes from a body of water in Mexico”). Plaintiffs
23   cannot have it both ways. Either pollution in United States stretches of the Tijuana
24   River is a purely domestic issue with no international dimension, in which case
25   claim two is facially deficient under the Miccosukee Tribe line of cases, see id. at
26   *7, or pollution in United States stretches of the Tijuana River is a transboundary
27   issue, in which case it is a border “sanitation problem” subject to the 1944 Treaty
28   and its Minutes.
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 1      D. Plaintiffs’ construction of the CWA would impair or affect USIBWC’s
 2         implementation of existing treaty rights and obligations.
 3         If governed by a NPDES permit, flows through the flood control structure
 4   would automatically be subject to “numerous Clean Water Act provisions . . .
 5   includ[ing] effluent limitations [and] water-quality standards.” Nat. Res. Def.
 6   Council, Inc. v. County of Los Angeles, 673 F.3d 880, 885 (9th Cir. 2011), rev’d on
 7   other grounds sub nom. Los Angeles Cty. Flood Control Dist. v. Nat. Res. Def.
 8   Council, Inc., 568 U.S. 78 (2013). Any transboundary flow exceeding those
 9   limitations and standards would be actionable under the CWA the moment that it
10   exited the flood control structure. Plaintiffs’ construction of the CWA would thus
11   vastly expand the scope of USIBWC’s responsibility for treating Mexico’s
12   wastewater.
13         No matter, Plaintiffs claim, because regardless of USIBWC’s obligations
14   under the CWA, it “would remain free to negotiate transboundary pollution issues”
15   with Mexico. Resp. at 9. This freedom to negotiate would mean little, however, if
16   USIBWC bore ultimate responsibility for any pollution that entered the flood
17   control structure. Even if Mexico agreed, for example, to eliminate waste from the
18   Tijuana River, Plaintiffs’ construction of the CWA would make USIBWC the
19   guarantor of Mexico’s commitment. Any failure by Mexico to halt the flow of
20   pollutants in the Tijuana River could create a private right of action against
21   USIBWC. Another nation’s treaty obligation would, in effect, become enforceable
22   against the United States by means of citizen suit. That arrangement is nowhere
23   contemplated in the 1944 Treaty or its Minutes and would unavoidably affect or
24   impair implementation of the provisions of the 1944 Treaty and Minutes that
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 1   commit the United States and Mexico to seek binational solutions to border
 2   sanitation problems that allocate responsibilities between the two countries. 2
 3         In sum, Plaintiffs would use the CWA to reorder USIBWC’s negotiated
 4   treaty arrangements with Mexico. In so doing, they would both vastly expand
 5   USIBWC’s responsibility for treating Mexico’s waste and would constrain
 6   USIBWC’s full exercise of its ability to explore and implement binational
 7   solutions to a binational problem pursuant to the 1944 Treaty and its Minutes.
 8   Section 1371(a) forecloses this outcome. Plaintiffs’ first claim should therefore be
 9   dismissed.
10   II. Plaintiffs Have Not Brought a Cognizable RCRA Claim
11         The contribution element of a RCRA claim requires: (1) active involvement
12   with, or some measure of control over, waste, Hinds Investments L.P. v. Angioli,
13   654 F.3d 846, 851 (9th Cir. 2011); and (2) “some level of causation between the
14   contamination and the party to be held liable.” Hudson Riverkeeper Fund, Inc. v.
15   Atl. Richfield Co., 138 F. Supp. 2d 482, 487 (S.D.N.Y. 2001).
16         Before filing suit, a prospective RCRA plaintiff must give the alleged
17   violator notice of “the activity alleged to constitute a violation.” 40 C.F.R.
18   § 254.3(a). Compliance with RCRA’s notice requirement is a jurisdictional
19   prerequisite. Covington v. Jefferson Cnty., 358 F.3d 626, 636 (9th Cir. 2004).
20   Failure to provide notice sufficient to give “the accused . . . the opportunity to
21   2
       The prior CWA suits against USIBWC that Plaintiffs cite (Resp. at 9) all
22   concerned works that USIBWC built under agreements with Mexico, to receive,
23   treat, and dispose of certain quantities of Mexico’s wastewater. The NPDES
     permits in those cases did not foist on USIBWC unilateral legal responsibility for
24   an unlimited quantity of additional waste, as Plaintiffs seek to do here. There is
25   nothing inconsistent, let alone “contradict[ory],” Resp. at 10, about USIBWC’s
     past (and ongoing) submission to NPDES permitting requirements, and its
26
     objections to the construction of the CWA now urged by Plaintiffs in their first
27   claim.
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 1   correct the problem” is therefore grounds for dismissal pursuant to Rule 12(b)(1).
 2   Waterkeepers N. California v. AG Indus. Mfg., Inc., 375 F.3d 913, 917 (9th Cir.
 3   2004) (internal citations and quotations omitted).
 4         Plaintiffs’ third claim encompasses two distinct theories of RCRA liability.
 5   According to Plaintiffs, USIBWC contributes to an imminent and substantial
 6   endangerment either (1) by failing to stop transboundary wastewater from flowing
 7   through its facilities; or (2) by constructing sediment berms that impede “the
 8   natural flow of solid and and/or hazardous wastes” into the Tijuana River Valley.
 9   SAC ¶ 128.b.i.
10         The problem with Plaintiffs’ first theory is that the Court has already rightly
11   rejected it. City of Imperial Beach, 2018 WL 4104235, at *10–11. In pressing that
12   theory again here, Plaintiffs contend that the Court misinterpreted Hinds and
13   should therefore confess error and reconsider its earlier decision. Not so. As this
14   Court correctly noted, USIBWC has no active involvement with waste that flows
15   by gravity through passive works. Id. at *11. Nor has USIBWC exercised control
16   over, or caused, the transboundary flows of wastewater that move through the
17   flood control structure and that exceed the canyon collectors’ detention capacity.
18   Id. On these bases, any allegations concerning uncaptured wastewater should
19   again be dismissed for failure to state a claim for contributor liability under RCRA.
20         The problem with Plaintiffs’ second theory of RCRA liability is that their
21   Notice of Intent to Sue Letter (“NOI letter,” SAC, Ex. A) nowhere mentions
22   berms, or any related “desiccat[ion]” of waste and subsequent “slug-flows.” SAC
23   ¶ 102. The reason for this fatal failure of notice is evident. Plaintiffs raised their
24   berm-based theory of liability for the first time in the Second Amended Complaint.
25   The NOI letter, on the other hand, was based on Plaintiffs’ original theory of
26   liability: that the mere passage of wastewater through USIBWC’s facilities, in and
27   of itself, violated RCRA.
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 1         Of the canyon collectors, Plaintiffs’ NOI letter states: “IBWC and Veolia
 2   have contributed and continue to contribute to the disposal of solid waste contained
 3   in the transboundary wastewater when that wastewater overflows, leaks, or spills
 4   from the conveyance structures and is deposited on land or into the Tijuana River .
 5   . . .” NOI at 23. And of the flood control structure, the NOI letter alleges that
 6   USIBWC “moves and discharges solid wastes from the flood control conveyance
 7   into the unlined portion of the Tijuana River Valley in the United States. Id. at 24.
 8   Indeed, each alleged instance of violation in Tables 1, 2, and 3 of the NOI letter
 9   concerns the flow of wastewater out of a USIBWC-owned facility.
10         Notice of a RCRA claim is adequate only if it “tells a target precisely what
11   [the target] allegedly did wrong.” Ctr. for Biological Diversity v. Marina Point
12   Dev. Co., 566 F.3d 794, 801 (9th Cir. 2009). The only conclusion to be drawn
13   from Plaintiffs’ NOI letter is that USIBWC violates RCRA by failing to contain
14   the flow of wastewater inside its facilities. The obvious response to this allegation
15   would be to somehow restrict that flow. According to Plaintiffs, USIBWC’s
16   sediment berms do exactly that. SAC ¶¶ 63, 102. If impeding the “natural flow”
17   of transboundary wastewater poses the imminent and substantial endangerment
18   that Plaintiffs now claim that it does, then their NOI letter wholly fails to make that
19   assertion.
20         It is immaterial that USIBWC constructed the berm in the flood control
21   structure after Plaintiffs sent their NOI letter. Resp. at 12. The issuance of an
22   NOI letter does not suspend notice requirements for new and different alleged
23   violations. See, e.g., San Francisco Baykeeper v. Levin Enter., Inc., 12 F. Supp.
24   3d 1208, 1233 (N.D. Cal. 2013) (finding that NOI letter was adequate as to certain
25   CWA claims, but not as to related but distinct claims that were raised for the first
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 1   time in the complaint). 3 Natural Resources Defense Council v. Southwest Marine,
 2   Inc., 236 F.3d 985 (9th Cir. 2000), cited by Plaintiffs, does not hold otherwise.
 3   There the Ninth Circuit found that a defendant that received adequate notice of
 4   alleged CWA violations could not render that notice retroactively inadequate by
 5   taking actions to remedy the alleged violations. 236 F.3d at 997–98. Under
 6   Southwest Marine, in other words, Plaintiffs’ NOI letter was sufficient “on the
 7   date it was mailed,” but only as to those claims that could be fairly gleaned from
 8   it. Id. at 997. Plaintiffs’ berm-based claims are nowhere to be found in its NOI
 9   letter and so must be dismissed.
10         The harm here alleged comes from the uncaptured flow of transboundary
11   wastewater. Realizing that the gravitational movement of wastewater through
12   passive works is an insufficient basis for RCRA liability, Plaintiffs have
13   concocted a new theory based not on the flow of wastewater but on the prevention
14   of that flow. This reversal has nothing to do with reality. Fatal lack of notice
15   aside, Plaintiffs’ berm-based claims are implausible on their face.
16                                      CONCLUSION
17         For these reasons, Plaintiffs’ first claim should be dismissed for lack of
18   subject matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1).
19   Plaintiffs’ third claim should also be dismissed under Rule 12(b)(1) to the extent
20   that it is premised on allegations not contained in the NOI letter. The remainder of
21   Plaintiffs’ third cause of action should be dismissed under Rule 12(b)(6).
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      Plaintiffs referenced the flood control structure’s berm in their First Amended
26   Complaint, dated May 29, 2018. FAC ¶ 62. If they wished to bring a RCRA claim
     based on the imminent and substantial endangerment posed by that berm, they
27
     could have filed an NOI letter on or before that date. Had they done so, the notice
28   period would have run weeks before the filing of the Second Amended Complaint.
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 1         Respectfully submitted this 2nd day of November, 2018.
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that, on November 2, 2018, a true and correct copy of the
 3   foregoing Partial Motion to Dismiss was served electronically via the Court’s e-
 4   filing system to Counsel of Record.
 5
 6                                         /s/ Andrew Coghlan
                                           ANDREW COGHLAN
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